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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                        )
Human Rights First,                     )
                                        )
              Plaintiff,                )
                                        )
      v.                                )              Civil Action No. 20-cv-3764 (TSC)
                                        )
                                        )
CHAD F. WOLF, as Acting Secretary, U.S. )
Department of Homeland Security, et al. )
                                        )
                                        )
              Defendants.               )
                                        )

                                              ORDER

       Plaintiff has moved for a preliminary injunction, claiming that a proposed set of

regulations issued by both DOJ and DHS are invalid because, among other things, DHS Acting

Secretary Wolf was not properly installed. Defendants argue that “even if this Court credits the

appointment argument, that does not undermine or impact the rule issued by the Attorney

General” which “set forth the substantive asylum provisions control irrespective of the validity

of the DHS rule.” (ECF No. 8, Defs. Br. at 45.) Plaintiff responds that “[t]he Agencies’ failures

to appoint officials with authority to act, to act within their statutory delegated authority, and to

abide by the APA’s reasoned decision-making requirements on fundamental aspects of the Rule

all infect the Rule as a whole.” (ECF No. 9, Pls. Reply at 25.)

       Neither side has provided any legal authority for their assertions. Therefore, by 8:00 am

on Saturday January 8, 2021, Defendants shall file a supplemental brief of no longer than 10

pages, and by 5:00 pm on Saturday January 8, 2021, Plaintiff shall file a reply of no more than


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10 pages, addressing the issue, including how a ruling in Plaintiffs’ favor on the DHS

appointment issue will affect the validity and implementation of the rule, and providing legal

authority for their positions. Because both parties’ current briefs violate Local Rule 5.1(d), both

parties shall ensure that their briefs meet the requirements of the court’s local rules, including

double spacing text, avoiding excessive footnotes, and 12-point font for footnotes.



Date: January 8, 2021


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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